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                       RECOMMENDATION TERMINATING
                SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA                     )
                                             )
                             vs.             )       Docket Number: 2:00CR00445-04
                                             )
Miguel Robert URIBE                          )
                                             )


LEGAL HISTORY:

On May 10, 2001, the above-named was sentenced to 60 months in the custody of the
Bureau of Prisons to be followed by a term of Supervised Release for a period of 48
months, which commenced on January 3, 2005. Special conditions included: Warrantless
search and seizure; Drug/alcohol testing, treatment and co-payment; Registration as a drug
offender; and, Non-association with gang members.


SUMMARY OF COMPLIANCE:

Mr. Uribe has complied with all conditions and special conditions of Supervised Release,
and has not been involved in any further criminal activities. It is the opinion of the probation
officer that he has derived maximum benefit from supervision and is not in need of
continued supervision.




                                                                                         Rev. 04/2007
                                                 1          EARLY TERMINATION ~ RECOMMENDATION.MRG
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RE:      Miguel Robert URIBE
         Docket Number: 2:00CR00445-04
         RECOMMENDATION TERMINATING
         SUPERVISED RELEASE PRIOR TO EXPIRATION DATE



RECOMMENDATION:

It is, therefore, respectfully recommended that Supervised Release in this case be
terminated early.

                                      Respectfully submitted,


                                    /s/ Richard W. Elkins
                                    RICHARD W. ELKINS
                            Senior United States Probation Officer

Dated:          October 22, 2007
                Elk Grove, California
                RWE/cj

REVIEWED BY:              /s/ Deborah A. Spencer
                        DEBORAH A. SPENCER
                        Supervising United States Probation Officer


cc:      AUSA Richard J. Bender (Pursuant to Rule 32, notice of proposed relief to the supervisee is
         being provided. If no objection is received from you within 14 days, the probation officer's
         Recommendation and Prob35-Order Terminating Supervised Release Prior to Expiration Date, will
         be submitted to the Court for approval.)




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PROB 35            ORDER TERMINATING SUPERVISED RELEASE
                         PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA                        )
                                                )
                           vs.                  )     Docket Number: 2:00CR00445-04
                                                )
Miguel Robert URIBE                             )
                                                )


On January 3, 2005, the above-named was placed on Supervised Release for a period of
48 months. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                 Respectfully submitted,


                                /s/ Richard W. Elkins
                                RICHARD W. ELKINS
                        Senior United States Probation Officer

Dated:       October 22, 2007
             Elk Grove, California
             RWE/cj

REVIEWED BY:         /s/ Deborah A. Spencer
                    DEBORAH A. SPENCER
                    Supervising United States Probation Officer




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RE:   Miguel Robert URIBE
      Docket Number: 2:00CR00445-04
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.

 November 9, 2007
Date                                            D. Lowell Jensen
                                                United States District Judge

RWE/cj
Attachment: Recommendation
cc:   United States Attorney's Office




                                                                                        Rev. 05/2006
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